
ORDER
| ¶ Considering the record of these matters,
IT IS ORDERED that respondent, Olita Magee Domingue, Louisiana Bar Roll number 29620, be and she hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.3, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that the matter bearing this court’s docket number 15-B-1534 be remanded to the disciplinary board for consolidation with the pending investigative matters. After appropriate consideration of the consolidated matters, the board is directed to issue- a single recommendation of discipline to-this court encompassing all disciplinary matters involving respondent.
FOR THE COURT:
/s/ Eernette J. Johnson
Justice, Supreme Court of Louisiana
